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12                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA
13
                                 SAN FRANCISCO DIVISION
14

15   DANIEL VALENTI, Individually and On
     Behalf of All Others Similarly Situated,
16
                           Plaintiffs,                 Case No. 3:21-cv-06118-JD
17
                   v.                                  PLAINTIFFS’ STATEMENT OF
18                                                     RECENT DECISION PURSUANT TO
     DFINITY USA RESEARCH LLC, DFINITY                 LOCAL RULE 7-3(D)(2)
19   FOUNDATION, and DOMINIC WILLIAMS,

20                         Defendants.

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                  PLAINTIFFS’ STATEMENT OF RECENT DECISION – No. 3:21-cv-06118-JD
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 1         Pursuant to Local Civil Rule 7-3(d)(2), Plaintiffs respectfully submit a relevant recent

 2 judicial opinion, Hardin v. TRON Foundation, 2024 WL 4555629 (S.D.N.Y. Oct. 23, 2024), which

 3 was issued after Plaintiffs filed their Memorandum of Law in Opposition to Defendants’ Motion

 4 to Dismiss the Second Amended Complaint (“Opposition”), Dkt. 145 (May 28, 2024); see also

 5 Dkt. 147 (vacating hearing date on motion to dismiss). The Hardin opinion’s discussion of primary

 6 and control person liability for solicitation under Section 12(a)(1) of the Securities Act of 1933,

 7 see Hardin, 2024 WL 4555629, at *13–14, is relevant to Plaintiffs’ arguments at pages seven to

 8 ten and page twenty of their Opposition. See also Dkt. 143, at 5, 7, 8, 17, 18 (Defendants relying

 9 on Second Circuit authority).

10         A copy of the Hardin opinion is attached hereto as Exhibit 1.

11   Dated:    October 25, 2024            Respectfully submitted,
12
                                     By: /s/ Jordan A. Goldstein
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